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                                         7954
      Joseph A. Dickson, U.S.M.J. (Ret.)
      Brittany Manna
      CHIESA SHAHINIAN & GIANTOMASI PC
      105 Eisenhower Parkway
      Roseland, NJ 07068
      (973) 325-1500
      Appointed Special Master


                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY




        IN RE: ALLERGAN BIOCELL                              MDL No. 2921
        TEXTURED BREAST IMPLANT                              Civil Action No.: 2:19-md-2921 (BRM)(ESK)
        PRODUCTS LIABILITY LITIGATION



                                                                   SPECIAL MASTER CASE
                                                                 MANAGEMENT ORDER NO. 34
        This Order Relates to All Actions, including:

        In re Allergan Biocell Textured Breast Implant
        Product Liability Litigation, MCL No. 634




             THIS MATTER having come before the Special Master and the MCL Court on January

      9, 2024, wherein the parties discussed the status of the production of documents and any issues

      pertaining to same, and the courts having considered the parties’ joint agenda letter dated January

      5, 2024;

             IT IS on this 22nd day of January, 2024,

             ORDERED that:

         1. The parties shall complete written discovery, including but not limited to all document

             production, by June 30, 2024.




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             SO ORDERED.

                                              /s/ Joseph A. Dickson
                                              Hon. Joseph A. Dickson, U.S.M.J. (Ret.)
                                              Special Master


                                              /s/ Gregg A. Padovano
                                              Hon. Gregg A. Padovano, J.S.C.


      Date: January 22, 2024




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